B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT
Southern District Of Indiana

 

Inre: James Michael Addison And Regina Ann Addison Case No. 14-07857-RLM-13

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

PHH Mortgage Corporation Ocwen Loan Servicing, LLC
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 15-3

should be sent:

 

PHH Mortgage Corporation Amount of Claim: $81389.18
Bankruptcy Department Date Claim Filed: 06/27/2018

 

1Mortgage Way, Mail Stop SV-22
Mt. Laurel, NJ 08054

 

 

 

 

Phone: (888) 554-6599 Phone: (888) 554-6599
Email: — BK TrusteeQueries@ocwen.com Email: | BKTrusteeQueries@ocwen.com
Last Four Digits of Acct #: 5875 Last Four Digits of Acct #: 7086

Name and Address where transferee payments
- should be sent (if different from above):

PHH Mortgage Corporation
P. O. Box 371458
Pittsburgh, PA 15250-7458

Phone: (888) 554-6599
Last Four Digits of Acct #: 5875

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

 

 

 

: a
By: Wocl hw (_ Marilyn Solivan Date: Apa\ uf 24

Transfellee/Transferee’s Agent. .
% CWA Loa Sywar yO CS Contract Management Coordinator

sh\honued aga fy PH ai Malle GQ se Capes

Penalty for making a false statement: Fine up to $500,000 or Fiaprivdnizent for up to 5 years, or both. 18 U.S.C §§ 152 & 3571.

 
